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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                         *
                                                  *
         v.                                       *     CRIMINAL NO. 23-cr-257 (TSC)
                                                  *
 DONALD J. TRUMP,                                 *
                                                  *
                Defendant.                        *
                                                  *

GOVERNMENT’S OPPOSED MOTION FOR LEAVE TO FILE OVERSIZED MOTION

       In Trump v. United States, 144 S. Ct. 2312, 2340 (2024), the Supreme Court emphasized

the “necessarily factbound” nature of any presidential immunity analysis.              See id. at 2339

(“Determining whose characterization may be correct, and with respect to which conduct, requires

a close analysis of the indictment’s extensive and interrelated allegations.”); id. at 2340 (“The

analysis therefore must be fact specific and may prove to be challenging.”); id. (“Knowing, for

instance, what else was said contemporaneous to the excerpted communications, or who was

involved in transmitting the electronic communications and in organizing the rally, could be

relevant to the classification of each communication.”). The Supreme Court remanded to this

Court “to determine in the first instance—with the benefit of briefing we lack—whether [the

defendant’s] conduct in this area qualifies as official or unofficial.” Id. at 2339.

       To fulfill the Supreme Court’s remand directive, in a status hearing on September 5, 2024,

the Government proposed filing an opening immunity brief with “a comprehensive discussion and

description of both pled and unpled facts . . . so that all parties and the Court know the issues that

the Court needs to consider in order to make its fact-bound determinations that the Supreme Court

has required.” ECF No. 232 at 13. The Government also indicated that the proposed brief would

include a “substantial number of exhibits.” Id. at 14. In a scheduling order entered the same date,
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the Court ordered the Government to file an Opening Brief on Presidential Immunity by September

26, 2024. ECF No. 233 at 2.

        The Court has been directed to conduct a detailed, factbound, and thorough analysis of the

Government’s case to make appropriate immunity determinations. Because the Court will make

determinations “in the first instance” that will be subject to exacting appellate review, it is essential

that the Court ensure that the record in support of its determinations is complete. The Government

believes that a comprehensive brief by the Government will be of great assistance to the Court in

creating that robust record, and the Government thus seeks leave to exceed the typical limit for a

single motion. See Local Crim. R. 47(e) (limiting opening motions and oppositions to 45 pages

and replies to 25 pages). The Government has substantially drafted its opening motion and

estimates that the filed version will not exceed 180 pages. The Government estimates that roughly

half of its motion will consist of a detailed factual proffer, and that extensive footnote citations to

an exhibit appendix increase the motion’s size by more than 30 pages.

        The Government conferred with the defense. Defense counsel opposes the Government’s

motion at this time, and requests that the Court set a deadline of September 24, 2024, 5:00 PM ET

for the defense’s response.

        For the Court’s awareness, the opening brief and its exhibits contain a substantial amount

of Sensitive Material, as defined by the Protective Order. Consistent with the Protective Order,

the Government intends to file a motion for leave to file under seal that attaches an unredacted

copy of the motion and appendix and proposed redacted versions to be filed later on the public

docket at the Court’s direction. See ECF No. 28 ¶¶ 11-12. Because of the extensive and time-

consuming logistics involved in finalizing the brief, appendix, and proposed redacted public




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versions of the same, the Government respectfully requests the Court’s decision on this motion as

soon as practicable.

                                                    Respectfully submitted,

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